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          EXHIBIT AB@
Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                    Page 2 of 34 PageID 13

                                                                                                      FILED
                                                                                        TARRANT COUNTY
                                                                                       1/18/2017 4:59:46 PM
                              CAUSE NO. 096-290053-17                                  THOMAS A WILDER
                                                                                          DISTRICT CLERK


NANCY CALHOUN, INDIVIDUALLY                      §                  IN THE DISTRICT COURT
AND AS INDEPENDENT                               §
EXECUTRIX OF THE ESTATE OF                       §
RICHARD 0. CALHOUN, DECEASED                     § -
     Plaintiff                                   §
vs.                                              §                        JUDICIAL DISTRICT
                                                 §
AAA LIFE INSURANCE CO.                           §
        Defendant                                §               TARRANT COUNTY, TEXAS

                             PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW NANCY CALHOUN, INDIVIDUALLY AND AS -INDEPENDENT

EXECUTRIX OF THE ESTATE OF RICHARD G. CALHOUN, Plaintiff herein, complaining

of Defendant, AAA LIFE INSURANCE COMPANY, and would show the Court as follows:

                                                I.

1.1    Pursuant to Rule 190, Texas Rules of Civil Procedure, Plaintiff hereby specifies that this

case will be governed by a Discovery Control Plan conducted under Level 2 of said rule.

                                               II.

2.1    Plaintiff, NANCY       CALHOUN,       INDIVIDUALLY AND             AS    INDEPENDENT

EXECUTRIX OF THE ESTATE OF RICHARD 0. CALHOUN, is an individual who resides at

5600 Joshua Court, Mansfield, Texas 76063 in Tarrant County.

2.2    Defendant, AAA LIFE INSURANCE COMPANY, is a foreign corporation.                       The

defendant may be served with citation in this action by serving its registered agent for service,

CT Corporation, at 1999 Bryan Street Suite 900, Dallas, Texas 75201-3136. Plaintiff requests

that citation be issued and served, along with a copy of this Petition, on AAA LIFE

INSURANCE COMPANY through its registered agent for service, CT Corporation System at

the address stated above.
    Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                     Page 3 of 34 PageID 14
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                                                       III.

    3. I    Defendant, AAA LIFE INSURANCE COMPANY, is a foreign corporation. This Court

    has jurisdiction over the Defendant because it is authorized to do business in Texas, and this suit

    arose from defendant's business transactions in Texas. This Court has jurisdiction over the

    subject matter of this case because the amount in controversy exceeds this Court's minimum

    jurisdictional limit. Plaintiff seeks monetary relief over $200,000 but not more than $1,000,000.

    3.2    Venue is proper in Tarrant County as per Tex. Civ. Prac. & Rem. Code § 15.002 because

    it is the county in which _all or a substantial part of the events ot· omissions giving rise to

    Plaintiffs claim occurred; and it is the county in which the Plaintiff resided at the time of the

    accrual of her cause of action against the Defendant. Venue is also proper in Tan-ant County as

    this case is a suit against a life insurance company and Tarrant County is the county in which the

    Plaintiff, a beneficiary of the policy made the basis of this suit, resided at the time her cause of

    action against the Defendant accrued. __Tex. Civ. Prac. & Rem. Code§ 15.032.

    3.3    The last three digits of Plaintiffs social security number are   '7 t../ q    The last three

    digits of Plaintiffs driver's license number are   45f.
                                                       IV.

    4.1    The Defendant issued a life insurance policy in June 2015 on the life of the Plaintiffs

    husband, Richard Calhoun. The insurance policy issued by Defendant is attached as Exhibit



    4.2     Richard Calhoun passed away on December 4, 2015. After Mr. Calhoun'died, Plaintiff

    submitted her clailn to the Defendant for payment of the insurance proceeds. The claim was,

    however, denied.




                                                                             Plaintifrs Original Petition
                                                                                              21 p il g c
    Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                     Page 4 of 34 PageID 15
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    4.3      On the date of Mr. Calhoun's death, the premiums had been paid and to the

    understanding of the Plaintiff were current. The pren1iums had been paid for by community

    property funds. The policy was issued in the State of Texas, and all conditions required for the

    contract to be in full force and effect on the date of Mr. Calhoun's death had been met.

    4.4     The Defendant's failure to pay the claim under the Contract has caused the Plaintiff to

    suffer damages in the amount of the face value of the insurance policy. The face value of the

    policy was in the amount of $200_,000.00 for which Plaintiff sues herein.

             WHEREFORE PREMISES CONSJOERED, Plaintiff prays that she have judgment

    against the Defendant as requested herein, pre-judgment and post-judgment interest at the

    maximum rate permitted by law and all other damages to which she is legally entitled whether at

    law or in equity.



                                                 Respectfully submitted,

                                                 ALLEN, STEIN & DURBIN, P.C.
                                                 6243 IH-10 West, 7th Floor
                                                 P. 0. Box 101507
                                                 San Antonio, Texas 78201
                                                 Tel: 210.734.7488
                                                 Fax: 210.738.8036




                                                 ATTORNEY FOR NANCY CALHOUN,
                                                 INDIVIDUALLY AND AS INDEPENDENT
                                                 EXECUTRIX OF THE ESTATE OF RICHARD G.
                                                 CALHOUN          .




                                                                             Plaintiff's Original Petition
                                                                                               3IPagc
                         Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                                                                                                                             Page 5 of 34 PageID 16
                                                                                                                                096~290053-17

                               June 1, ~015

                                                                                                                                                                          Insured:
                                                                                                                                                                          RICHARD 0 CALHOUN
                                                                                                                                                                          Certificate Number: .......4028538n7
                                                                                                                                                                          Coverage: ...................... $200,000
                                                                                                                                                                          Billing Interval: ............... Monthly
                                                                                                                                                                          BIJUng Amount: ..............$191.97
                                                                                                                                                                          Payment Due By: .......... June 26, 2015

                             Dear RICHARD G CALHOUN,

                                    Congratulatlonsl Your application for $200,000 of Group Term Life Insurance has been
                             APPROVED with a coverage start date of June 28, 2016. Your Certificate of Insurance and a
                             copy of your application are enclosed.

                                     To ensure that your coverage takes effect visit www.AAAllfe.com/blllpav to pay online or mall
                            the Premium due NoUce with pavment Once effective, you can renew your coverage through age 79,
                            If you wish, REGARDLESS of any changes In your health. In compliance with current Insurance
                            regulations, we are enclosing a repfacement fonn. If this certificate Is Intended to replace any other life
                            Insurance, please complete the form In its entirety and return It to us within 30 days using the enclosed
                            postage-paid envelope.                     -

                                   On your application, you asked to be billed Monthly. Because thls Is a AAA Group Rate. the
                            Monthly amount Is only $191.97 - which may be more economical than Individual rates you'd likely pay
                            elsewhere for the same coverage.         ~- -       -

                                                                Pay online at www.AAALlfe.comlblllpay or mall your payment In the postage-paid
                                                                envelope to arrive before June 28, 2016 and your life Insurance will go Into effect
                                                                on the coverage start date.

                                   You made a wlae choice In selecting this Insurance. Tenn life Insurance- often called apure•
                           Insurance - Is the life Insurance most recommended by life Insurance Professionals. It gives you the
                           most coverage of Its klnd for the least cost.

                                  As a result, should anything happen to you after you have paid for this policy, your family wilt
                          receive $200,000 to help them achieve the goats you share. • Thls money may make all the difference
                          In the world to them.

                                 WHILE YOU ARE APPROVED: your ·payment Is needed. This will start your fife Insurance
                          coverage. If you df!lay. you may lose your approved status, and may have to apply all over again.
                                            Don't risk that, nat when the $200,000 coverage Is In your grasp•

.........-..._................................................._. _..........................._...................--..............-..-....~!og~.r.llY... . . . . . . . . . . . . . ........................ ................... . . . . . . . . . . . . . . . . . . . . . . . .......... .. . . ......... ·· . . . . . . . . · · ·.

                                                                                                                                              Harold W. Huffstetler, Jr.
                                                                                                                                              President and Fellow Member
                         RICHARD G CALHOUN,
                         Pay on fine at www.MAUfe.comlbiUpay or detach Premium Due Notfce below and mall with payment to arrive no
                         later than June 28. 2015 •exclusions may apply. Please see policy for details.




                 402853em                                                        RICHARD G CALHOUN                                                                  $200,000                              $191.97                         Monthly                          812612015




                                                                                                                                  EXHIBIT A                                                                                                                NC000001
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    Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                                 Page 6 of 34 PageID 17




    ~urance
                                                                                                                     17800 NLane« Park 01
                                                     Privacy Notice                                                 Lrvor11a. M 48Ui2
                                                                                                                    (800) 624- 1862
           Company                  lmportsnt lnlormst/on AbDIII Your Pdvscy                                        (886) 494-32$4 fai

              Th1s notice descnbes our c:u"ent pwacy pdtcy end pecbces rertbng to ya.tr nanpubrre personalrnfOtmehan We Wlft
           ptovrde th1s notice to you at least once 1 year as r8(Jiared by lew You do not need 1o contact us to benelt fram our prvacy
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              you have a relebonthrp Wllh AAA or afftlralad AAA C0111J8nras. you may recel\/8 addtJanal pnvacy nobces from lham

                                      What does AAA Life Insurance Company
                                       do with your personal Information?
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                                            and drug seraen•ng processes

   DO YOU                          Youdo.fmlneedto take any action In retpOnse tothlt Pttvacy Notice. Because we do not
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  OUR PRIVACY PRINCIPLES:
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           • Wt re~111e all entrbas ptovadng procllcts at setVICas on our behalfto prdect customer tnfatmattan
       •         WI do nat share your mldcc:at Information unless you expressly aulhonze•t. d •s permtUtd 01 requtted by law. or your
                 application. pahcy. ar contract wdh us parmts disclosure
       •         All customats rratn.r. extstlng.and potenbal) recava the same pnvacy protections
  INFORMAnON WE MAY CGLLECT AND USE:
  Pnvaae and new~publ&c p11sonal•nformabon ts the 1nbmabal about you lhat cannat be obta1ned tom public sources such as
  lelephone .duec:tanes or government records \~'*' seek to collect anel use only cnlormallan lhet•s necessary to concllct our
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                                                                Paget 112                                      ALAN·2091 t-012·XX
                                  Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                                                                                                                            Page 7 of 34 PageID 18




                                  ~lnslnance
                                           Company
                                                                                                                                                                                                                                                 17900 N. Laurel Park Drive
                                                                                                                                                                                                                                                         Livonia, Ml 48152
                                                                                                                                                                                                                                                                    1-800-624-1662



                                                                       IMPORTANT NOTICE: REPLACEMENT OF LIFE INSURANCE OR ANNUITIES
                           This document must be signed by the applicant, and copy left wfth the applicant.
                           You are contemplating the purchase of a llfe Insurance policy or annuHy contract. In some cases this purchase may
                           Involve discounting or changing an exlsflng policy or contract. If so, a replacement is occurring. Financed purchases
                           are also considered replacements.
                          A replacement occurs when a new poUcy or contract is purchased and, In connection with the safe, you discontinue
                          making premium payments on the exlsllng poJfcy or cantract, or an existing poUcy or__contract Js surrendered, forfeited,
                          assigned to the replacing Insurer, or otherwise terminated or used In a financed purchase.

                          A financed purchase occurs when the purchase of a new life Insurance policy Involves the use of funds obtained by
                         the withdrawal or surrender of or by borrowing same or aU of the policy values, Including accumulated dMdends, of an
                         existing paRcy to pay aU or part of any premium or payment due on the new poUcy. A financed purchase is a
                         replacement.
                                                                                                                                                                                                                                                                   "
                         You should carefully consider whether a replacement Is In your beat Interest. You will pay acquisition- coats and there
                         may be surtender costs deducted from your poflcy or contract. You may be able to make changes to your existing
                         policy or contract to meet your Insurance needs at leas cost. A financed purchase wUI reduce the value of your exiting
                         policy ad may reduce the amount paid upon the death of the Insured.
                         We want you to understand the effects of replacements before you make your purchase decision and ask that you
                         answer the following questions and consider the questions on the back of thts fonn.
                         1. Are you consfderfng discontinuing making premium payments. surrendering, forfeiting, assigning to the Insurer, or
                            otherwise tennlnatlng your existing pclfcy or contract? _YES _No
                        2. Are you considering using funds from your existing policies or contracts to pay premiums due on the new policy or
                           contract? _YES _No
                                                                                                                               .
                       If you answered ayes• to either of the above questions, list each exlslfng policy or contract you are contemplating
                       replacing (Include the name of the Insurer. the Insured or annuitant and the policy or contract number if available) and
                       whether each policy will be replaced or used as a source of financing:

                                       INSURER NAME                                                                             CONTRACT OR                                                 INSURED OR                                              REPLACED (R) OR
..
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     . . ...........-.............. ........................................................... " ........................" .............
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                      Make sure you know the facts. Contact your extstfng company or ita agents for information about the old policy or
                      contract. If you request one, an In force Illustration, policy summary or available disclosure documents must be sent to
                      you by the existing Insurer.

                     Ask for and retain all sales                                                mat~riaf                 regarding this sale. Be sure you are making an Informed decision.
                      The existing policy or contract ls befng replaced because _ _ _......._ _ _ _ _ _ _ _ _ _ _ _......;


                                                                                                                                                             Page 1 of2                                                                            ALDM-19050-310-XX

                                                                                                                                                 EXHIBIT A                                                                                                  NC000003
               Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                                                                          Page 8 of 34 PageID 19




                                                                      ~urance     Company
                                                                            (A Stock Company)

                                                      Group Insurance Certificate

                 Group Polley# GT8107

                            CertifiCate Holder:                                                       Certificate #4028538777
                            RICHARD G CALHOUN


                                                                                     --
                PLEASE READ YOUR CERTIFICATE CAREFULLY. This Certificate Is a legal contract between You and Us.
                We fssue II fn retum for Your appllcatron and payment of the first premium. An index to the Certificate's
                contents Is on the next page.
                We Issue this Certificate to You as evidence of coverage under the Group' Policy. We agree to pay the
                benefits provided by the terms of the Group Polley, which are summarized In this Certificate. If there Is a
                discrepancy between this Certificate and the Group Poflcy, the terms and condHions of the Group Polley will
                govem.
                Beneflclary. As stated on Your application, unless later changed as allowed by this Certificate.

                Thirty-one Day Right to Examine. You have the right to examine this Certificate for a period 31 days after
                receipt If You are not satisfied with the coverage provided, You may return this Certificate. All You have to
                do is mall or deliver It wHhfn 31 days to Our Home Office with a written request that We cancel U. If returned
                wHhln the right to exsmfne period, the Certificate will be considered void from the start and We wlll refund,
                within 31 days of Its return, all premiums You have paid.
                  THE BENEFITS OF THIS CERTIFICATE PROVIDING YOUR COVERAGE ARE GOVERNED BY THE LAWS
                                               OF A STATE OTHER THAN TEXAS

                                                             ----·-··--·· ···-·~.......................................................-.............................-...-.................................-............... ·- .... . . . . . ........... .......-.
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                           Harold W. Huffstetler, Jr., Presfdent                                                             Diane L. Coudurier, Secrefary

                             TOLL FREE INFORMATION AND COMPLAINT NUMBER: (800) 624-1662
                                                            GROUP TERM LIFE INSURANCE
                                      Offered Exclusfvely for Members of the American Automobile Association
                                                     Non-Participating - Not Eligible for Dividends
                               Home Office Mailing Address: 17900 N. Laurel Park Drive, Uvonla, Michigan, 48152
                                                               Website: www.aaallf&.com




              GT8107CERlTX
                                                                         EXHIBIT A                                                                                                            NC000004
                    Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                                                                       Page 9 of 34 PageID 20




                                                                     . AAA LIFE INSURANCE COMPANY
                                               IMPORTANT NOTICE                                                                                   AVISO IMPORTANTE

                        To obtain Information or make a complaint                                                           Para obtener Informacion o para someter una queja:

                      •     You may call AAA Life's toll-free telephone                                                     •     Usted puede llamar al numero de telefono gratis
                            number for Information or to make a complaint                                                         de AAA Life's para Informacion o para someter
                            at:                                                                                                   una queja al:

                                                  1-800-624-1862                                                                                      1-800-824-1662
                     •      You n,ay also write lo AAA Ufe at:                                                           •        Us1ed tamblen puede escrlblr a AAA Life:

                                        17900 N. Laurel Park Drive                                                                           17900 N. Laurel Park Drive--
                                       - -Livonia, Ml 48162-398&                                                                              Livonia, Ml 48162-3986
                     •     You may contact the Texas Department of                                                       •       Puede comunlcarse con el Departamento de
                           Insurance to obtain lnfonnation on companies,                                                         Seguros de Texas para obtener informacion ·
                           coverage, rights or cor:nplalnt& at:                                                                  acerca de companies, coberturas, derechos o-
                                                                                                                                 quejasal:
                                                 1-800-262--3439
                                                                                                                                                     1-800-262-3439
                    •      You may write the Texas Department of
                           Insurance:                                                                                   •        Puede escriblr al Departamento de Seguros de
                                                                                                                                 Texas:
                                             P.O. Box 149104
                                           Austin, TX 78714-8104                                                                                 P.O. Box 149104
                                           FAX## (512) 475-1771                                                                                Austin, TX 78714-9104
                                 Web: http:/fwww.tdl.state.tx.ua                                                                                FAX# (612) 475·1771
                          E-mail: ConsumarProtectlon@tdl.state.tx.us                                                                    Web: hUp:l/wWw.tdi.state.tx.us
                                                                                                                                E-mail: ConsumerProtectlon@tdl.state.tx.us
                          PREMIUM OR CLAIM DISPUTES:
                                                                                                                       DISPUTAS SOBRE PRIMAS 0 RECLAMOS:
                   Should you have a dispute concerning your
                   premium or about a claim, you should contact                                                            Slliene una dlsputa concemlente a su prfma o a
                   AAA Life Insurance Company first If the                                                                 un recfamo, debe comunlcarse con AAA Life
                   dispute Is not resolved, you may contact the                                                            Insurance Company primero. Sl no se resuelve
                   Texas Department of Insurance.                                                                          Ia dispute, puede entonces comunfcarse con el
                                                                                                                           denartamento
... ......... ..... ..........lrrTA'CH'TRIS"NO'riCE-tO YOUR...............................................................___ ,.______.. _de Se.aums...de.Iexas._
                                                                                                                                              -·   .             ................_......................................... .
                   POUCY: This notice Is for Information only                                                         UNA ESTE AVISO A SU POUZA: Este aviso
                   and does not become a part or condltron of                                                         es solo para proposlto de Informacion y no se
                   the attached document.                                                                             convlerte en parte o condlcion del documento
                                                                                                                      adjunto.




                  RC8108                                                                      EXHIBIT A                                                                               NC000005
         Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                                       Page 10 of 34 PageID 21




                                              Certificate of Group Term Life Insurance
                                               Schedule of Benefits and Premiums
            Group Master Policyholder:                           BankNewport as Trustee of the AM Group Insurance Trust,
                                                                 Newport, Rhode Island

            Insured:                        RICHARD G CALHOUN                        Certificate Number:           4028538777




                                                                                                                  -
            Effective Date:                 June 26, 2015                            Issue Date:                   June 1,2015

            Issue Age:                      61                                       Date of Birth:

            Sex:                            Male                                    Issue State:                   TX
            Premium Class:                  STANDARD                                Total Initial Annual           $2,267.ee•
                                            NON-NICOTINE                            Premium:

            Premium Frequency              Monthly                                  Total Initial Modal            $191.97*
            Mode:                                                                   Premium:

           Conversion Age:                 To the Insured's Attained Age 65. No conversions will be allowed once the Insured
                                           reaches age 65 or on those certificates Issued on or after age 65.

                               An administrative fee of $3.00/month will be 4dded for Direct Monthly Billing.


                                                                   Benefd                  Monthly
                         Benefit Type                              ~mount                 Premium           Effective Dj!te          Exglm!lon Date
           Base Term Life Insurance                               $200,000                 $191.97             8/26/2015                 6fl612034
                       Endorsements

           Accelerated Death Benefit Endorsement                                              No               6/26/2016                6/28/2034
                                                                                           charge

          Coverage Is renewable- annualry, but not beyond the ExpiraUon Date. Expiration Dates shown are contingent
          upon this Certificate and Group Master Policy continuing in force •
. ·· . . · · "Ttle·rowpremTum-sn·owrfmcruaestfieBas"ifTiimi"Llfe~r;;suraifce premiurfi' fofyoui'Alfalffiia"Agi; ancftnii............._...................................
          premium for any Riders attached hereto.




          Print Date: June 1, 2015




         GT8107CERTTX
                                                                   EXHIBIT A                                                          NC000006
                                         Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                                                                                                                                                                                      Page 11 of 34 PageID 22




                                                                                                                                  Schedule of Benefits and Premiums (Continued)

                                                                 Insured: - RICHARD G CALHOUN                                                                                                                                                                        Certificate Number                                                        402853Bn7
                                                                 Base Tenn Life Insurance: $200,000


                                                                                                                                                                         Renewal Monthly Premiums

                                                                                                                                                                                   Base Term Life                                                                Base Tenn Life
                                                                                                   AHalnedAge                                                                      Without Riders                                                                With All Riders
                                                                                                              61--64                                                                  $188.97                                                                       $188.97
                                                                                                        85-69                                                                         $328.61                                                                       $328.61
                                                                                                        70-74                                                                         $503.94                                                                       $503.94
                                                                                                    - - 75-79                                                                         $839.90                                                                       $839.90




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                                                                                                                                                                                                                                                                                                                                                                                                                                               •-




                                       Print Date: June 1. 2015


                                       GT8107CERTTX                                                                                                                                                       3a

                                                                                                                                                                              EXHIBIT A                                                                                                                                                       NC000007
          Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                                                  Page 12 of 34 PageID 23




                                                                            PART 1- DEFINITIONS
           Attained Age
                  means, on any given date, Your age on the most recent Renewal Date. During the first year of coverage
                  under this Certificate, Your Attained Age Is Your Issue Age.
          Effective Date
                  means the date this Certificate becomes effectiVe. It Is shown on the Certificate Schedule of Benefits and
                  Premiums Page (Schedule Page). The Effective Date fs the date We use to determine Renewal Dates.
          Eligible Member (Member)
                  means, on the Issue Date,· a person whose name appears In good standing In the active fifes of the
                  American Automobile Association.
          Eligible Spouse (Spouse)
                     means on the Issue Date, the legal Spouse of a Member.
          Evidence of Insurability
                 means proof satlsfactol}' to Us that an Insured Is an acceptable risk under the Group Polley.
          Group Policy
                means Group Life Insurance Polley bearing the number GT8107, Issued to the Policyholder by Us. It
                Includes any Riders or Endorsements attached to lt.
         Home Office
               means the ma1n administrative office of AAA Ufe Insurance Company located at 17900 N. laurel Park
               Drive, Uvonla, Michigan 48152.
         Insured
                means a Member or Spouse whose name appears on the Schedule Page, and who Is insured under the
                Group Policy, fncludlng any elected Riders or Endorsements.
         Issue Date
                    means the date we Issue this Certificate, which fs shown on the Schedule Page. The Issue Date Is the
                    data We use to measure the applicable time periods of the Sufcide and Incontestability provisions In this
                   Certificate.
         Officer of the Company
                   means the President, a Vice President or Secretary of MA Life Insurance Company.
        Modal Premium
                          the Premium payment method chosen (Annually, SemJ.Annually, Quarterly or Monthly) for the lffe rnsurance
..........................BenefiLAmount.. plus_.any_..addltlonal...benefil....Biders..~.....Tbls.Js....&bown_o.n....lhe....S.cbe.dufe....of....B.e.neflts_.and.................................
                          Premiums as the Premium Frequency Mode.
        Policyholder
               means the Group Policyholder· named on the Schedule Page.
        Renewal Period
                   means each one-year period, after the first year, that thla Certificate remains In force.
        We, Our, and Us
                   means AAA Life Insurance Company at Jts Home Office.
        Written Notice
                   means notification satisfactory to Us and received by Us al our Home Office.
        You and Your
                  means the person Insured by this Certificate as named on the Schedule Page.




       GT8107CERTTX                                                      EXHIBIT A                                                                 NC000008
                Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                                                Page 13 of 34 PageID 24




                                                                        PART Ill- GENERAL PROVISIONS
                Suicide Umltatlon
                       If You die by suicide, while sane or Insane, within 2 years of the Issue Date, Our liability will be limited to a
                       refund of the premiums pafd.
                Incontestability
                       We wm not contest the validity of Your Insurance after It has been In force for a period of 2 years from the
                       Issue Date, during Your lffetfme. We wm not use a statement made by You on Your signed application to
                       contest a claim unless:
                                1. You die within 2 years of the lsaue Date; and
                                2. Any answer, representation or acknowledgment made by You on Your signed application for
                                   Insurance was not true and/or complete; and
                                3. If We had known the correct facts, We would not have Issued the Certificate, or the Certificate
                                   would not have been Issued in He present fonn for the amount of Insurance and/or the premium
                                     rate.
                          If We reinstate this Certificate, any material misstatements made by You on Your signed application for
                          reinstatement are subject to the provisions of this section as of the reinstatement date.
               Statements
                     We consider all statements made by You In the application to be representations and not warranties, unless
                     they are fraudulent. No statement will be used to void coverage or reduce benefits unless:
                               1. It Is In writing; and
                               2. A copy is attached to this Certificate.
                               3. A copy 18 furnished to You or Your Beneficiary.
              Assignment
                    You may not use the benefits under this Certificate for a collateral assignment.
              Misstatement of Age or Sex
                     If Your age or sex was misstated, Your correct age or sex as of the date of applrcatfon will be used to
                     detennlne:
                              1. The Effective, Renewal, or Expiration Dates of any benefits provided under this Certificate;
                              2. The amount of insurance: and
                              3. Any other rights or benefits under the Certificate.
                        If Your age or sex was misstated, We will adjust the amount of life Insurance to be the amount that the
                        premiums would have purchased at Your correct age or sex, on the date of application•
.. ...............~········ ..·-~·····--.Jf,..basecton_Y.a.ur_correct_age,_c;.oy_erag§•.YD.der:. thi~...C.!.rti62.~~!...!!.Q.~.IId not have become effective, Our liability
                                      will be limited to a refund of Premiums, and the Certificate will be cons.lde.red vciicffiOmTtie·-Siart-:--·.................-......................... .

             Grace Period
                   We will allow a 31 day grace period for all premiums due, except the first one. During this period the
                   coverage wDI remain in force. If the premium due Is not paid by the end of the Grace Period, the coverage
                   provided by the Certificate will lapse. All Insurance ends when the Certmcate lapses. If Your death occurs
                   durJng the Grace Period, We will deduct any unpaid premium due from the benefit amount otherwise
                        payable.
             Reinstatement of Insurance
                    If We terminate Insurance for non-payment of premium, You may reinstate coverage within 90 days
                    following the last unpaid premtum due date. You must pay all overdue premiums and provide U~ wllh
                    satisfactory Evidence of Insurability. We will not cover any loss under the reinstated Certificate that
                    occurred during the lapse period. If You have converted Your coverage to an Individual polfcy of permanent
                    Insurance under the Conversion Privilege, You may not reinstate Your coverage under this Certificate ,




            GT8107CERTIX
                                                                             EXHIBIT A                                                                NC000009
                     Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                                                                                             Page 14 of 34 PageID 25




                                                                                      PART VJ- CLAIMS AND BENEFIT PAYMENTS
                     Payment of Claims
                          Ufe Insurance Benefits will be payable according to the beneficiary designation In effect at tlme of payment.
                          All other benefits are pafd directly to You.
                    Notice of Claim
                           Written Notice of Claim must be given to Us within 30 days after a covered Loss occurs, or aa soon after
                           that as reasonably possible. The notice should be sent to Our Home Office. Our mailing addrtitas for
                           Notfce of Claim Is shown on the first page of this Certificate. Notice should include Your name and the
                           Certificate Number.
                    Claim Forms
                                  When We receive a Notice of Claim, We will fumlsh to the claimant our nonnal forms for filing Proofs of
                                  Loss. If We do not fumish those forms· wllhln 15 days after we receive the Notice, the claimant may submit
                                  Written Proof of Loss which Includes a Death Certificate, If appllcabre, and a description of the occurrence,
                                  extent and character of the loss for which claim Is made. Written Proof of loss Is subject to the time
                                  frames outlined In--the next paragraph.                                                     - · -- -

                   WriHen Proof of Loss         ._
                         We must receive Written Proof of Loss. satisfactory to Us, at Our Home Office within 90 days after the date
                         the Loss occurs.- If-it was not reasonably possible to give Us Written Proof of Loss within 90 days We will
                         not reduce or deny a claim for this reason, provided the Written Proof of Loss was submHted as soon as
                         reasonably possible. However, In no event. except fn the absence of legal capacity, will benefits be paid If
                         Written Proof of Loss is not submHted wHhfn 1 year from the date the Loss occurs.
                   Time Payment of Claims
                         We wUI pay the Claims for benefits provided under this Certificate wJthln 2 months of Our receipt of (1)
                       · Written Proof of Loss and (2) written proof of the right of the claimant to receive the benefits..
                   Payment of Death Benefit Proceeds
                        Unless restricted by law, We will pay the benefit proceeds due upon Your death as forlowa:
                                         1. If You have named 1 or mora beneficiaries, the 'benefit proceeds will be paid to the surviving
                                            beneficiary or beneficiaries In equal shares, unless otherwise stated by You; or
                                         2. If You have not named a beneficiary, or If no named beneficiary survives You, the benefit will be
                                            paid to Your estate.
                                         3. If any benefit Is payable to Your estate or to a beneficiary who is a minor or otherwise not
                                            competent to give a valid release, We may pay an amount up to $10,000 to any relative by blood or
                                            marriage whom We consider to be equitably entitled. If we make such a payment In good faith, We
                                            will not be liable for the amount paid.

.... ....... . :........ P..bY.@.IPM-.~~.mjD..atlon and.Auto..psy___ ·······-· ·--~·- ···········-···--·. ·····-··.........-.... ······--·--·. ···· ·--··-··· ................................ _...................... _....-............................................. __
                                We have the right, at Our expense, to examine the person for whom a claim Is made under this Certificate
                                when and as often as It may reasonabry require, but not more than once every three months, during the
                                pendency of a claim and to have an autopsy perfonned fn case of death where it Is not forbidden by law.
                 Legal Actions
                        Legal acllon may not be taken to receive benefits until 60 days after the date Written Proof of Loss was
                        submitted as described above. Legar action may not be taken after the expiration of 2 years after the date
                        Written Proof of Loss was submitted as described above.
                 Benefit Proceeds Payment Optfons
                        Any amount payable under the Certificate in settlement of a claim will be paid by Us In one lump sum, or
                        any payment option mutually agreed upon.




                 GT8107CERTTX
                                                                                                           EXHlBIT A                                                                                             NC000010
Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17   Page 15 of 34 PageID 26




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                            EXHIBIT A                         NC000011
           Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                                                 Page 16 of 34 PageID 27




                                                                           ~uranceCompany
                                                                               (A Stock Company)
                                                       17900 N. Laurel Park Drive, Livonia, Ml 48162..3985
                                                                        (800) 824-1682

                                       ACCELERATED DEATH BENEFIT ENDORSEMENT
                              (THIS ENDORSEMENT IS NOT A LONG ·TERM CARE ENDORSEMENT)
               IMPORTANT NOTICE: BENEFITS PROVIDED UNDER YOUR CERTIFICATE OF GROUP TERM LIFE
               INSURANCE WILL BE REDUCED IF THE ACCELERATED DEATH BENEFIT IS PAID. .

              THE ACCELERATED DEATH BENEFITS OFFERED UNDER THIS ENDORSEMENT MAY OR MAY NOT
              QUALIFY FOR FAVORABLE TAX TREATMENT UNDER THE INTERNAL REVENUE CODE OF 1986.
              WHETHER SUCH BENEFITS QUAUFY DEPENDS ON SUCH FACTORS SUCH AS YOUR UFE
              EXPECTANCY AT THE TIME BENEFITS ARE ACCELERATED. IF THE ACCELERATED DEATH BENEFIT
              QUAUFIES FOR FAVORABLE TAX TREATMENT, THE BENEFITS WILL BE EXCLUDED FROM YOUR
              INCOME AND NOT SUBJECT TO FEDERAL TAXAnON. TAX LAWS RELATED TO ACCELERATED DEATH
              BENEFITS ARE COMPLEX. YOU ARE ADVISED TO CONSULT WITH A QUALIFIED TAX ADVISOR ABOUT
              CIRCUMSTANCES UNDER WHICH YOU COULD RECEIVE ACCELERATED DEATH BENEFITS
              EXCLUDABLE FROM INCOME UNDER FEDERAL LAW.

             RECEIPT OF ACCELERATION·OF·LIFE·INSURANCE BENEFITS MAY AFFECT YOUR SPOUSE OR YOUR
             FAMILY'S ELIGIBIUTY FOR PUBLIC ASSISTANCE PROGRAMS SUCH AS MEDICAL ASSISTANCE
             (MEDICAID), AID TO FAMJUES WITH DEPENDENT CHILDREN (AFDC), SUPPLEMENTARY SOCIAL
             SECURITY INCOME (SSJ), AND DRUG ASSISTANCE PROGRAMS. YOU ARE ADVISED TO CONSULT
             WITH A QUALIFIED TAX ADVISOR AND WITH SOCIAL SERVICE AGENCIES CONCERNING HOW RECEIPT
             OF SUCH A PAYMENT WILL AFFECT YOU, YOUR SPOUSE AND YOUR FAMILY'S ELIGIBILITY FOR
             PUBUC ASSISTANCE.

             This Endorsement fs attached to and becomes a part of Your Certificate. Wherever the term "Schedule Page•
             appears In thfs Endorsement, It shall have the same meaning as the term Data Page. This Endorsement will
             remain in effect only while the Certificate remains In effect. It Is govemed by the tenns of the Group Polley and
             Certificate that are not rn conflict with the provisions of this Endorsement.
             EFFECTIVE DATE
                  This Endorsement will not become effective unless the Certificate Is In force.
                                  The Effective Date of this Endorsement Is shown on the Schedule Page (page 3a. of Your Certificate.)
..................................If-We -reinstate-coverage..uFKfer-thfs ..J:-ndorsementl·-the-EffeGtive. Date--of lha·-refnatated-ooverage--wiiJ.be· ................. ····· ·······-- ·····-·
                                  shown In a new Schedule Page (page 3a of Your Certificate.)
             BENEFIT
                  This Endorsement allows You to request an Accelerated Death Benefit Amount subject to all the
                  provisions of the Group Polley and Your Certificate. This Endorsement Is not Intended to provide
                  health, nursing home, or long-tenn care Insurance.
            INSURED ("YOU" OR •'YOUR")
                  If You are the Insured named on the Schedule Page, You are covered by this Endorsement.

            PHYSICIAN
                  A doctor of medicine (M.D.) or osteopathy (D.O.) legally authorized to practice medicine or surgery,
                  within the scope of such authorization, by the state which he or she performs such function or action.
                  A Physician must not be the spouse, child, sibling, parent, grandparent. grandchild, or In-law of the
                  Insured.




            GT8108ENDCERTTX
                                                                          EXHiBIT A                                                                NC000012
Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                            Page 17 of 34 PageID 28




 TERMINATION
       This Endorsement will tennlnate on the earliest of:
       1. the date when the Certificate this Endorsement Is attached to terminates: or
       2. when You request that we cancel It by notifying us in writing; or
       3. upon Your death.

 Signed for AAA Ufe Insurance Company at Its Home Office In Livonia, Michigan


   7~AJ?/.#If:;ftt,p                                             ~~~
        Harold W. Huffstetler, Jr•• President                     Diane L. Coudurier, Secretary




GT8108ENOCERTIX
                                           EXHIBIT A                                        NC000013
                  Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                                                                           Page 18 of 34 PageID 29



                                                      IMPORTANT INFORMATION ABOUT COVERAGE UNDER THE
                                                    TEXAS LIFE AND HEALTH INSURANCE GUARANTY ASSOCIATION
                                            (For Insurers declared Insolvent or Impaired on or after September 1, 2011)

            Texas law establishes a system, administered by the Texas Life, Accident, Health and Hospital Service Insurance Guaranty
            Association (the "Association"), to protect Texas policyholders If their life or health Insurance company falls. Only the
            policyholders of Insurance companies which are members of the Association are eligible for this protection which Is subject to
            the terms, limitations, and conditions of the Association law. (The law Is found In the Texas Insurance Code, Chapter 463.)

                        It is possible that the Association may not cover your policy In full or In part due to statutory limitations.

                                                                    Eligibility for Protection by the Association
            When a member Insurance company Is found to be Insolvent and placed under an order of liquidation by a court or
            designated as Impaired by the Texas Commissioner of Insurance, the Association provides coverage to policyholders who
            are:
            •      Residents of Texas (regardless of where the policyholder lived when the policy was Issued)
            •      Residents of other states, ONLY If the following condftlons-are met
                   1. The policyholder has a policy with a company domiciled In Texas;
                   2. The policyholder's state of residence has a similar guaranty association; and
                   3. The policyholder Is not eligible for coverage by the guaranty association of the policyholder's state of residence.

                                                                           Limits of Protection by the Association

            Accident, Accident and Health, or Health Insurance:                                                                      .
            •      For each Individual covered under one or more poiJcles: up to a total of $500,000 for basic hospital, medical-surgical,
                   and major medical Insurance, $300,000 for diaabRity or long tenn care insurance, and $200,000 for other types of
                   health Insurance.
           Life Insurance:
           •       Net cash surrender value or net cash withdrawal value up to a total of $100,000 under one or more potlcles on any
                   one life: or
           •       Death benefits up to a total of $300,000 under one or more policies on any one life; or
           •       Total benefits up to a total of $5,000,000 to any owner of multiple non-group life policies.
           Individual Annuities:
           •       Present value of benefits up to a total of $100,000 under one or more contracts on any one life.
           Group Annuities:
           •       Present vafue of allocated benefits up to a total of $100,000 on any one life; or
           •       Present value of unallocated benefits up to a total of $5,000,000 for one contract holder regardless of the number of
                   contracts.
           Aggregate Limit
           •       $300,000 on any one life with the exception of the $500,000 health Insurance limit, the $5,000,000 multiple owner life
· . ··· · · . . . . . . . iniiilincei"iiiiit;"and'.itie $s;·ooo.oocfuiiatiocatea·9roup·annuftYltmlf:-.. . . . . . .-..............-....................................................._. . . . .-.. . ··· . . . . . . . . . . . . ·..........-
 ···~···



           Insurance companies and agents are prohibited by law from using the existence of the Association for the purposes
           of sales, solicitation, or Inducement to purchase any form of Insurance. When you are selecting an Insurance
           company, you should not rely on Association coverage. For additional questions on Association or protection or
           general Information about an Insurance company, please use the following contact lnfonnatlon.

                   Texas Life and Health Insurance                                                                                  Texas Department of Insurance
                   Guaranty Association                                                                                             P.O. Box 149104
                   515 Congress Avenue, Suite 1875                                                                                  Austin, Texas 78714-9104
                   Austin, Texas 78701                                                                                              888·252-3439 or
                   800-982-6362 or                                                                                                  www.tdl.texas.gov
                   txtlifega.org




                                                                                               EXHIBIT A                                                                                  NC000014
                      Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                                                                                                 Page 19 of 34 PageID 30


                                                                                            AAA LIFE INSURANCE COMPANY

                                                            IMPORTANT NOTICE                                                                                                           AVISO IMPORTANTE

                             To obtain Information or make a complaint:                                                                                Para obtener lnfonnacl6n o para presenter una queja:

                             •       You may call AAA Ute•s toiJ..free telephone                                                                       •       Usted puede llamar al numero de tef~fono
                                     number for information or to make a complaint                                                                             gratuito de AAA Ufe's para obtener lnfonnaci6n
                                     at:                                                                                                                       o para presenter una queja al:

                                                                 1..ao0-624-1662                                                                                                            1-800.624-1662

                            •       You may also write to AAA Ute at:                                                                                 •        Usted tambf6n puede escriblr a AAA Life:

                                                     17900 N. Laurel Park Drive                                                                                                 17900 N. Laurel Park Drive
                                                         Uvonla, Ml48152                                                                                                            UVonla, Ml 48152

                            •       You may contact the Texas Department of                                                                           •       Usted puede comunl98f'S8 con el
                                    Insurance to obtain Information on companies,                                                                             Departamento de Seguros de Texas para
                                    coverage, rights. or complaints at:                                                                                       obtener informaci6n sobre compaiUas,
                                                                                                                                                              coberturas, derechos, o quejas al:
                                                                 1·800.252-3439
                                                                                                                                                                                            1-8()0.252-3439
                            •       You may write the Texas Department of
                                    Insurance:                                                                                                       •        Usted puede escribir al Departamento de
                                                                                                                                                              Seguros de Texas a:
                                                          P.O. Box 149104
                                                        Austin, TX 78714-91 04                                                                                                       P.O. Box 149104
                                                        FAX: (512) 490.1007                                                                                   ...                  Austin, TX 78714·9104
                                                    Web: www.tdl.texas.gov                                                                                                         FAX: (512) 490·1007
                                 E·mall: ConsumerProtectlon@ldl.texas.gov                                                                                           Sltlo web: www.tdl.texas.gov
                                                                                                                                                           E-mail: ConsumerProtectlon@tdl.texas.gov
                                 PREMIUM OR CLAIM DISPUTES:
                                                                                                                                                              DISPUTAS POR PRIMAS DE SEGUROS 0
                           Should you have a dispute concerning your                                                                                                   RECLAMACIONES:
                           premium or about a claim, you should contact
                           the company first. If the dispute Is not                                                              Sl tiene una dlsputa relacionada con su prima de
                           resolved, you may contact the Texas                                                                   seguro o con una reclamacl6n, usted debe
                           Department of Insurance.                                                                          · comunlcarse con Ia compaf\fa prlmero. Slla
                                                                                                                            . dlsputa no es resuelta, usted puede
                                  .ATTACH THIS Nonce TO YOUR                                                                     comunlcarse con el Departamento de Seguros
.................-.................POLICY.::--lld&-notlse ·1&-foF..fnformatlon ..onfy.......................................- ...de..Texas........-.....................................................-.............. ......................... ....... .. .......... ....... .. ·-
                                   and does not become a part or condition of ·
                                   the attached document.                                                                        ADJUNTE ESTE AVISO A SU P6LIZA: Este
                                                                                                                                 aviso es soloamente para prop6sltos lnfonnativos y
                                                                                                                                 no se coovlerte en parte o en condlci6n del
                                                                                                                                documento adjunto.




                        AC1215
                                                                                                              EXHIBIT A                                                                                               NC000015
       Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                           Page 20 of 34 PageID 31




     ~urance
                                                                                                    AAA Life Insurance Company
                                                                                                      17900 N. Laurel Park Drive
                                                                                                                   Uvonla, MJ 48152
                                                                                                    Call toJI..free: 1-80Q..884-4222
          Company                                                                                                www.AAALife.com

       June 1. 2015                                                                 SUMMARY: Keep for your recon:ts




       Dear RICHARD G CALHOUN,
              Congratulatlonal Your application for $200,000 of Group Term Life Insurance ):las been
       APPROVED with a coverage start date of June 26, 2015. Your Certificate of Insurance· and a
       copy of your application are enclosed.                                                      ·

               To ensure that your coverage takes effect. visit www.AMUfe.com/blllpav to oav online or !Tl@U
       the Premium due Notfce with payment. Once effective. you can renew your coverage through age 79,
      -If you Wish, REGARDLESS of any changes In your health. In oompllance with current Insurance
      regulations, we are enaosing a reptacement fonn. If this certificate Is Intended to replace any other life
      Insurance, please complete the form In Its entirety and retum It to us within 30 days using the enclosed
      postage·p.ald envelope.
             On your application, you as~ to be bilred Monthly. Because lhls Is a AAA Group Rate. the
      Monthly amount Is onry $191.97- whfch may be more economical than fndlvlduaf rates you'd likely pay
      elsewhere for the same coverage.

                         Pay online at www.AAALite.com/blllpay or mall your payment In the postage-paid
                         envelope to arrive before June 26, 2015 and your life Insurance will go Into effect
                         on the coverage start date.

               You made a wlse choice In serectrng this Insurance. Term life Insurance- often call~--~u~~................... . ....... ...................
    ... JJJ§.UJJlOC&. :-::.Js..theJife.Jnsurance ..most..l800mmended-by·..l:.ffe-lnsurance-ProfesSior'iiils7'"'1f-gwes·-you the
      most coverage of Hs kind for the feast cosl

              As a result, should anything happen to you after you have patd for thfs policy, your family will
      receive $200,000 to harp them achieve the goals you share. • Thfs money may make all the difference
      in the world to them.

             WHILE YOU ARE APPROVED: your payment Ia needed. Thfs will start your Rfe insurance
      coverage. If you delay, you may lose your approved status, and may have to apply $11 oyer again.
               Don't rfsk that, not when the $200,000 coverage Is In your grasp.


      SUBJECT TO DEADLINE                                        Sincerely,


                                                                 ~?~~~~p
  -PLEASE MAIL NOW or PAY AT
      www.AAALife.comlbillpay
     RICHARD G CALHOUN,
                                                                President and Fellow Member
     Pay onDne at www.AAALife.com/bfllpay or deta~ll61tti-tlcft1elow and mall with payment to arrive no
                                                                                                                                                     I
                                                                                                                                                     ..
     tater than June 26. 2015 •exclusions may ~~~IIIIAAiefJoliepror details.            NCQLQgQ,~£1-xx                                               f.
j.!:~~·~.!:~~~M~~,~#-:!.e.~.~'P!~~!I!'t• ... ~-.-~·-·••,.•·-~·-•..,-•••---- ... -------~----------~
                   Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                                Page 21 of 34 PageID 32




             ~urance
                                                                                                                                      17900 Nllllrel Part Or
                                                                      Privacy Notice                                                 lJvorua M 48152
                                                                                                                                     (800) 624-1862
                       Company                   lmpDrtBnt lniDnnst/on About· YDur Pnvscy                                            (888) 494-3254 fa

                           Th1s ndlce dascnbes our current pnvacy pa1cy and practices relabng to your nanpub~c persana1Jnlorma1con We WID
                       provwde th•s natace to you at least once • year es requcred by raw You da nat need to cantect us to benelltlrom our puvacy
                         ptotecbons Thts nccrce app1as to AAA Life fns.,,anee Company. Auto Club l•fe Insurance Company. and therr agents If
                           you have e relationship With AAA or aRille led AAA co,..,an•es. you may receNe acfchonal pnvacy notrees from them

                                                   What does AAA Life Insurance Company
                                                     do with t_our _personal Information?
                                                 In OICJet to prov1da our hfa 1nsurence. 8MUity. ancluavet accrcfenl proellcts to you. we gaU'Iar
           WHY IS IT                             pnvete and nonpubl1c pllt'sanar •nbmabcn about you Federal and Slate law r&CJJif&s us to tell you
           NEEDED?                               how we cdlect. shere. and prdect your nonpubfiC petsanal dale A ease read lhts nal•ce to
                                                 undeu:tand haw AAA Ltle handes thrs rnf01mat1on

           WHAT IS                               The type of parsonal1nforma~aon we collect end share depends on tha prowct you have With us
                                                 Th1s •nrormatJOn can mcrude Socaal Securrty nu~IH. personal mectcer mformanon. and bank
           COLLECTED?                            account numbllf'(s)

                                                 We heve 1mplemantad h1gh Slendards to saf9ard yow persanal1nrormet•an and ma1nta~n stnct
                                                 control over access Ia such tnformatun- TheSe stendards meet or exceed the fadetal and state law
                                                 requ1rements In ordet 10 ens11e the sefaty end confidenbalsty or your nonpubl•c perscnal
                                                 1nfarmatron. we cont1nually
          HOWlS YOUR                                 •    Marnlern and monitor phys1cel eleclrorue. and procedural safa~ards.
                                                     •    Revaew our pollcres and pract1ces.
          I~ORMAnON                                  •    Monl'lor our cof'l1)uter networks.
          PROTECTED?                                 •    Test the strength of our secur~tV.
                                                     •    Restnel e"1)1oyee access to those who need 1ha .nbmatJon to perform lharr esSig~ed ·
                                                          4.1bes end prOVIde products and seMces to you. and
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                                                          and drug screen•ng pocesses

         DO YOU                                 You do .tQI ""d to ta~<e anv action In response to this Privacy NoUce. Bac:ause we do not
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        ANYTHING?                               cp.~astaans.   please feel free to cantect us

        OUR PRIVACY PRINCIPLES:.
          • WIWe do not saU 01 rent your personal anformahcn
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      INfORMAnON WE MAY COLLECT AND USE:
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      telephone date~oraes or government records V\tt seale to collect and usa only lftbmatron lhat IS necessary to conellct our
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           • V. may also galhet petsonaf rnrcrmat1cn from pet sons Cllhet then lhe rndYIGiel Olrndvaduars proposed tot covatega



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                                  Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                                                                                                                                                                       Page 22 of 34 PageID 33



                            ~~ranee.                                                                                                                                                                                                                                                          17900 N. Laurel Park Drive
                                           Company                                                                                                                                                                                                                                                    livonia, Mr 48152
                                                                                                                                                                                                                                                                                                         1-SQ0-624-1662



                                                                                    IMPORTANT NOTICE: REPLACEMENT OF LIFE INSURANCE OR ANNUITIES
                    Thfs document must be slgned by the applicant, and copy left with the applicant.
                   You are contemplating the purchase of a life Insurance policy or annuity contract. In some cases this purchase may
                   lnvorve discounting or changfng an existing policy or contract. If so, a replacement Is occurring. Financed purchases
                   are also considered replacements.
                   A rep,acement occurs when a new policy or contract Is purchased and, In connection with the safe, you discontinue
                   making premium payments on the existing polfcy or contract. or an existing poRcy or contract Is surrendered, forfeited,
                   assigned to the replacing Insurer, or otherwise terminated or used In a financed purchase.
                  A financed purchase occurs when the purchase of a new life Insurance policy Involves the use of funds obtained by
                  the withdrawal or surrender of or by borrowing some or all of the poUcy values, lncludfng accumulated dividends, of an
                  existing policy to p~y all or part of any premium or payment due on the new polfcy. A financed purchase Is a
                  replacement.                  ·
                 You should carefully consider whether a replacement Is In your best Interest. You will pay acquisition costs and there
                 may be surrender costs deducted from your policy or contract. You may be able to make changes to your existing
                 policy or contract to meet your Insurance needs at less cost. A financed purchase will reduce the value of your exiting
                 policy ad may reduce the amount paid upon the death of the Insured.
                We want you to understand the effects of replacements before you make your purchase decision and ask that you
                answer the following questions and consider the questions on the back of this form.
                 1. Are you considering discontinuing making premium payments, surrendering, forfeltfng, assfgning to the Insurer, or
                    otherwise terminating your existing policy or contract? __YES _NO
                2. Are you considering using funds from your exfstrng poffcles or contracts to pay premiums due on the new poflcy or
                   contract? __YES _NO
                                                I


               If you answered ''yes" to ehher of the above quesUons, lfet each existing policy or contract you are contemplating
               replacing (Include the name of the Insurer, the Insured or annuitant and the policy or contract number If available) and
               whether each policy will be replaced or used aa a source of financing:

                                      INSURER NAME                                                                                                                    CONTRACT OR                                                          INSURED OR                                             REPLACED (R) OR
_   • .. •                                                                                                                                                                        ~~~~!. ! . . . . . . . . . . . . . . . . . .
             • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . - . . . . . . . . . . . . . . . . ,w ............... w ...................                                          w .............   ~NY.I.IANI...............................................EJNANCING-(.f} .........................................




             Make sure you know the facts. Contact your existing company or its agents for lnfonnatlon about the old policy or
             contract. If you request one, an rn force Illustration, poJfcy summary or available disclosure documents must be sent to
             you by the existing Insurer.

             Ask for and retafn an aares material regarding this sale. Be sure you are making an Informed declslon.

             The existing policy or contract rs being replaced b e c a u s e - - - - - - - - - - - - - - - - - -

                                                                                                                                                                                                         Page 1 of2                                                                                 ALDM·19050·310·XX

                                                                                                                                                                                                EXHIBIT A                                                                                              NC000018
Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                             Page 23 of 34 PageID 34




                                                  Life Insurance
                                                  Company
                                                (A Stock Company}

                                  Group Insurance Certificate

Group Polley# GT8107

        Certificate Holder:                               CertJficate ##402853Bm
        RICHARD G CALHOUN




PLEASE READ YOUR CERTIFICATE CAREFULLY. This Certificate Is a legal contract between You and Us.
We Issue H In retum for Your application and payment of the first premium. An Index to the Certificate's
contents Is on the next page.
We Issue this Certificate to You as evidence of coverage under the Group Polfcy. We agree to pay the
benefits provided by the tenns of the Group Policy, which are summarized In this Certltlcate. rt there Is a
discrepancy between this Certificate and the Group Polley. the terms and conditions of the Group Policy will
govem.
Beneficiary. As stated on Your application, unless later changed as allowed by this Certificate.
Thirty-one Day Right to Examine. You have the rtght to examine this Certificate for a period 31 days after
recefpl If You are not satisfied with the coverage provided, You may retum this Certificate. All You have to
do fs malf or denver H within 31 days to Our Home Office wlth a written request that We cancel II. If retumed
within the right to examfne perfod, the Certificate will be considered void from the start and We will refund,
within 91 days of Its retum, all premiums You have paid.
 THE BENEFITS OF THIS CERTIFICATE PROVIDING YOUR COVERAGE ARE GOVERNED BY THE LAWS
                              OF A STATE OTHER THAN TEXAS


                                    1tf~---·-·--·--··-·        · ·- -Ch~·J:~·-·-··---
        Harofd W. Huffstetler, Jr., President                       Diane L. Coudurler, Secretary


         TOLL FREE INFORMATION AND COMPLAINT NUMBER: (800) 62~1662
                                       GROUP TERM UFE INSURANCE

                Offered Exclusively for Members of the American Automobile Aaaoclatlon
                                Non·Partlctpatlng- Not Efiglbfe for Dividends
           Home Office ~alllng Address: 17900 N. Laurel Park Drive, Livonia, Michigan, 48152
                                     Website: www.aaallfe.com
                      Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                                                                                                           Page 24 of 34 PageID 35




                                                                                          AAA LIFE INSURANCE COMPANY
                                                       IMPORTANT NOTICE                                                                                                                 AVISO IMPORTANTE

                      To obtain Information or make a complaint:                                                                                        Para obtener Informacion o para someter una queja:

                      •        You may call AAA Ute's toll-free telephone                                                                               •       Usted puede lfamar al numero de terefono gratis
                               number for informatron or to make a complaint                                                                                    de AAA lffe's para informacion o para someter
                               at                                                                                                                               una queja al:

                                                             1-800.624•1662                                                                                                                   1·800·624-1662

                      •        You may also write to AAA Life at                                                                                       •        Usted 1amblen puede escriblr a AAA Life:

                                                17900 N. Laurel Park Drive                                                                                                       17900 N. Laurel Park Drive
                                                   Livonia, Ml 48152-3985                                                                                                           Uvonla, Ml 48152-3985
                     •        You may contact the Texas Department of                                                                                  •       Puede comunfcarse con el Departamento de
                              Insurance to obtain infonnatJon on companies,                                                                                    Seguros de Texas para obtener lnfonnaclon
                              coverage, rlghts or complaints at                                                                                                acerca de companlas, coberturas, dereohos o
                                                                                                                                                               que)as at:
                                                            1·800.252-3439
                                                                                                                                                                                             1·80D-252-3439
                     •        You may write the Texas Department of
                              Insurance:                                                                                                              •       Puede escrlblr al Departamento de Seguros de
                                                                                                                                                              Texas:
                                        P.O. Box 149104
                                     Austin, 1X 78714-9104                                                                                                                                 P.O. Box 149104
                                      FAX I (512) 475·1771                                                                                                                          Austin, TX 78714-9104
                                  Web: http://www.tdl.state.tx.ua                                                                                                      FAX# (512) 475·1771
                           E-mail: ConsumerProtectlon@tdl.atate.tx.ua                                                                                              Web: bttp:!Jwww.tdl.state·tx.ua
                                                                                                                                                            E-mail: CansumerProtectlon@tdl.state.tx.us
                           PREMIUM OR CLAIM DISPUTES:
                                                                                                                                                     DJSPUTAS SOBRE PRIMAS 0 AECLAMOS:
                   Should you have a dispute concemfng your
                   premium or about a claim. you should contact                                                                                      Sf trene una dlsputa concemlente a su prima o a
                   AAA Life Insurance Company first. If the                                                                                          un recramo, debe comunlcarse con AAA Life
                   dispute Is not resolved, you may contact the                                                                                      Insurance Company prfmero. Sf no se resuelve
                   Texas Department of Insurance.                                                                                                    Ia dispute, puede entoncea comunlcarse con el
                                                                                                                                                     departamento de Seguros de Texas .
.. ... ................A.T.TACH.TJ:IIS...NODCE.TO.Y.OUR............................................._.._..-....................._........................-...---......................................_.................................-......................................_............... · ...
                   POUCY: Thls notice Is for infonnatfon only                                                                                       UNA ESTE AVISO A SU POLIZA: Este aviso
                   and does not become a part or condition of                                                                                       es solo para proposflo de Informacion y no se
                   the attached document.                                                                                                           convlerte en parte o condlclon def documento
                                                                                                                                                    adjunto.




                  AC8106                                                                                              EXHIBIT A                                                                                                     NC000020
              Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                                           Page 25 of 34 PageID 36




                                                  Certificate of Group Term Life Insurance
                                                   Schedule of Benefits and Premiums
              Group Master Policyholder:                               BankNewport as Trustee of the AAA Group Insurance Trust,
                                                                       Newport, Rhode Island

              Insured:                          RICHARD G CALHOUN                           Certificate Number:              402asaa1n



                                                                                                                            -
              Effective Date:                   June 26, 2015                               Issue Date:                      June 1, 2015

             Issue Age:                         61                                          Date of Birth:

              Sex:                              Male                                        Jasue State:                     TX
             Premium Class:                     STANDARD NON·NICOTINE                       Total Initial Annual            $2,287.86*
                                                                                            Premium:

             Premium Frequency                  Monthly                                    Total Initial Modal              $191.97.
             Mode:                                                                          Premium:

             Conversion Age:                   To the Insured's Attafned Age 65. No conversions will be allowed once the Insured
                                               reaches age 65 or on those certfflcates Issued o~ or after age 85.

                                  An administrative tee of $3.00/month will be added for Direct Monthly Billing.


                                                                         Benefit                  Monthly
                           BenlfBType                                    Amoynt                   Pmmlum              l;ffectlve Dote           Exglrat(OD Datg

             Base Tenn Life Insurance                                   $200,000                   $191.97              8/26/2015                   6/26/2034
                          Endorsements

            Accelerated Death BenefH Endorsement                                                      No                6/26/2015                   6/26/2034
                                                                                                   charge

            Coverage Is renewable annualry, but not beyond the Expiration Date. Expiration Dates shown are conUngent
            upon this Certificate and Group Master Polley continuing In force•
......... ..... ........ .!.llle.T.otal.prernJum.ahoWJl~AGIUdes-the·Sa&&l'erm·Ufe·tnsurance·premfum. for·your-Attalned..Ags,..amtthe--.................................... · ......... ·-·
                          premium for any Riders attached hereto.




           Print Date: June 1, 2015




           GT8107CEAITX                                                   EXHIBIT A                                                             NC000021
...
        Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                          Page 26 of 34 PageID 37




                                         Schedule of Benefits and Premiums (Continued)

                Insured:    RICHARD G CALHOUN                                 Certificate Number   4028538777
                Base Term Life Insurance: $200,000


                                                   Renewal Monthly Premiums

                                                      Base Term Life      Base Term Life
                          Attained Age                Without Rldlra      With All Riders
                              61-64                      $188.97             $188.97
                              SS.69 --                   $328.61             $328.61
                                 70·74                   $503.94                $503.94
                                 75-79                   $839.90               $839.90




      Print Date: June 1, 2015


      GT81 07CERTTX                                         3a
                                                     EXHIBIT A                                     NC000022
                   Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                                                                                    Page 27 of 34 PageID 38



                                                                                                       PART I- DEFINITIONS
                Attained Age                                          _
                              means, on any given date, Your age on the most recent Renewal Date. During the first year of coverage
                              under lhis Certlfloate, Your Atrafned Age Is Your Issue Age.
                Effective Date
                              means the date thfs Certificate becomes effective. It Is shown on the Certificate Schedule of Benefits and
                              Premiums Page (Schedule Page). The Effective Date Is the date We use to detennfne Renewal Dates.
               Eligible Member (Member)
                       means, on the Issue Date, a person whose name appears In good standing in the active flies of the
                       American Automobile Association.
               Eligible Spouse (Spouse)
                       means on the Issue Date, the legal Spouse of a Member.
               Evidence of Insurability
                             means proof satisfactory to Us that an Insured Is an acceptable risk under the Group Polley.
               Group Polley
                     means Group Lffe Insurance Polley bearing the number GT8107, Issued to the Policyholder by Us. rt
                     Includes any Riders or Endorsements aUached to II.
              Home Office                                                     .
                    means the main admfnlstraUve otffce of AAA Life Insurance Company located at 17900 N. Laurel Park
                    Drive. Livonia, Michigan 48152.
              Insured
                             means a Member or Spouse whose name appears on the Schedule Page, and who- fs Insured under the
                             Group Polley, Including any elected Riders or Endorsements.
              Issue Date                        o
                     means the date we Issue this Certificate, which fs shown on the Schedufe Page. The Issue Date Is the
                     date We use to measure the applicable Ume periods of the Sulcfde and lncontestabfllty provisions In this
                     CertiRoate.
             Officer of the Company
                            means the President, a VIce Presfclent or Secretaty of AAA Life Insurance Company.
                 Modal Premium
                                      the Premium payment method chosen (Annually, Semi-Annually, Quarterly or Monthly) for the life Insurance
                                      BeneRt   Amount plus any additional beneflt......................................................................
·........................ ~· ........ "Premtomt"~ltie'Pllfrnllf'rffffequency·MoCfe:··· Alders. This Is shown___on                                              the Schedule
                                                                                                                                                        .................................             of Bene.flla and.
                                                                                                                                                                                          _.. --· ......................... ·-·-· .... · ..........

            Policyholder
                   means the Group Pollcyhofder named on the Schedule Page.
            Renewal Period
                  means each one-year period, after the first year, that this Certlffoate remains In force.
            We, Our, and Us
                  means AAA Life Insurance Company at Its Home Office.
            Written Notice
                   means noflflcatlon satisfactory to Us and received by Us at our Home Office.
           VouandVour
                means the person Insured by this Certificate as named on the Schedule Page.




           GT8107CERTTX                                                                               EXHIBIT A                                                                                       NC000023
'··           Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                                    Page 28 of 34 PageID 39



                                                              PART Ill- GENERAL PROVISIONS

           Suicide Limitation
                  If You die by sufclcie, while sane or insane, wllhln 2 years of the Issue Date, Our liability will be limited to a
                  refund of the premiums paid.
          Ineontestability
                 We will not contest the validity of Your Insurance after It has been fn force for a period of 2 years from the
                 Issue Date, during Your lifetime. We will not use a statement made by You on Your signed application to
                 contest a claim unless:
                         1. You die wHhln 2 years of the Issue Date; and
                         2. Any answer, representation or aclmowledgment made by You on Your signed application for
                            Insurance was not true and/or complete; and
                         3. If We had known the correct facts, We would not have Issued the Certificate, or the Certificate
                            would not have been issued In its pJesent fonn for the amount of rnsurance and/or the premium
                            rate.
                    U We reinstate this CertlfJcate, any material misstatements made by You on Your signed application for
                    reinstatement are subject to the provlslons of this section as of the reinstatement date.
          Statements
                We consider all statements made by You In the application to be representations and not warranties, unless
                they are fraudulent. No statement will be used to void coverage or reduce benefits unless:
                         1. Ills In wriUng; and
                         2. A copy Is attached to this Certificate.
                         3. A copy Is fumfshed to You or Your Beneficiary.
         Assignment            .
                    You may not use the benefits under thfs Certmcate for a collateral assignment.
         Misstatement of Age or Sex
                If Your age or sex was misstated, Your correct age or sex as of the date of app!lcatlon will be used to
                determine:
                        1. The Effective, Renewal, or Expiration Oates of any benefits provided under this Certificate;
                        2. The amount of Insurance; and
                        3. Any other rights or benefits under the Certificate.
                   If Your age or sex was misstated. We wiU adjust the amount of life Insurance to be the amount that the
                   premiums w9uld have purchased at Your correct age or sex, on the date of application.

                                 If, based on Your correct age. covera~-~ -~~de!_~~. Ce_~~~~~ ~~~J~.!!o~ ~~Y~--~~~m!-~ffeg!~~t.9~rJI~R~~. . . ~................................
··............................ · wlfl·be"tlmfte'd·to·a-refund-of'Premtu-ms, arilflfie Certificatewill tie consifer&a vold from the start.
         Grace Period
                We will allow a 31 day grace period for all premiums due, except the ffrst one. During this period the
                coverage will remafn In force. If the premium due Is not paid by the end of the Grace Period. the coverage
                provided by the Certlflcate will lapse. All Insurance ends when the Certmcate lapses. If Your death occurs
                during the Grace Period, We will deduct any unpaid premium due from the benefit amount otherwise
                payabre.
        Reinstatement of Insurance
               If We terminate Insurance for non-payment of premium. You may reinstate coverage within 90 days
               folfowlng the last unpaid premium due date. You must pay art overdue premiums and provide Us with
               satisfactory Evidence of lnsurablrtty. We will not cover any loss under the reinstated Certificate that
               occurred during the lapse period. If You have converted Your coverage to an Individual policy of pennanent
               Insurance under the Conversion Privilege, You may not refnstate Your coverage under this Certmcate




       GT8107CERITX                                                   EXHIBIT A                                                         NC000024
                       Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                                                                                                                    Page 29 of 34 PageID 40




                                                                                                 PART VI- CLAIMS AND BENEFIT PAYMENTS
                  Payment of Claims
                        Life Insurance Benefits will be payable according to the beneficiary designation In effect at time of payment.
                       All other benefits are paid dJrectry to You.
                  Notice of Clafm
                                    Written Notice of Claim must be given to Us withfn 30 days after a covered loss occurs, or as soon after
                                    that as reasonably possible. The notice should be sent to Our Home OHtce. Our matnng address for
                                    Notice of Claim Is shown on the first page of this Certificate. Notice should Include Your name and the
                                    Certificate Number.
                 Claim Forms
                        When We receive a Notice of Claim, We will fumlsh to the claimant our normal forms for filing Proofs of
                        Loss. If We do not furnish those fonns within 15 days after we receive the Notice, the claimant may submit
                        Written Proof of Loss which fncfudes a Death Certificate. If applicable, and a description of the occurrence~
                        extent and character of the loss for which clarm fs made. Written Proof of Loss Is subJect to the tlme
                        frames outlined fn the next paragraph.
                 Written Proof of Lose
                                   We must receive Written Proof of Loss. satisfactory to Us, at Our Home Offfce within 90 days after the date
                                   the Loss occurs. If It was not reasonably possible to give Us Written Proof of loss within 90 days We will
                                   not reduce or deny a claim for this reason, provided the Written Proof of loss was submHted as soon as
                                   reasonably possible. However» In no event, except In the absence of legal capacity. will benefits be pafd If
                                   Written Proof of Loss Is not submitted wHhln 1 year from the date the loss occurs.

                Time Payment of Claims
                                  We will pay the Claims for benefits provided under this Certificate wHhln 2 months of Our receipt or (1)
                                  Written Proof of loss and (2) written proof of the rfght of the claimant to receive the benefits..
                Payment of Death Benefit Proceeds
                     Unless restricted by law. We will pay the benefit proceeds due upon Your death as fotrows:
                                           1. If You have named 1 or more beneficiaries, the benefit proceeds will be pard to the surviving
                                              beneficiary or beneficiaries In equal shares. unless otherwise stated by You; or
                                           2. if You have not named a beneficiary, or If no named beneficiary survJves You, the benefit will be
                                              pald to Your estate.
                                           3. If any benefit Is payable to Your estate or to a beneflcrary who is a mfnor or otherwise not
                                              competent to give a vaiJd release, We may pay an amount up to $101000 to any relative by blood or
                                              marriage whom We consider to be equHably entitled. If we make such a payment in good falth, We
                                              wJII not be nabla for the amount paid.
... ...............P.by.s.lcal..Examlnatlcn..and.Autopsy...............-...-...............................................................................................................................................................................................·.......................... .. ·· ... · ··
                            We have the right, at Our expense, to examine the person for whom a clafm Is made under this Certificate
                            when and as often as It may reasonably require~ but not more than once every three months, during the
                            pendency of a claim and to have an autopsy performed ln case of death where H Is not forbidden by law.
              Legal Actions
                                legal action may not be taken to receive benefHs unUI 60 days after the date Written Proof of loss was
                                submitted as described above. Legal action may not be taken after the expiration of 2 years after the date
                                Written Proof of loss was submitted as described above.
              Benefit Proceeds Payment Options
                                Any amount payable under the Certificate In settlement of a claim will be paid by Us In one rump sum, or
                                any payment option mutually agreed upon.




             GT8107CERTTX                                                                                                   EXHIBIT A                                                                                                           NC000025
..                 .          Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                                                                                                                                                                                                  Page 30 of 34 PageID 41




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                                                                                                                                                                                 EXHIBIT A                                                                                                                                              NC000026
                Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                                                     Page 31 of 34 PageID 42




                                                                                ~urance Company

                                                                            (A Stock Company)
                                                            17900 N. Laurel Park Drive, Livonia. Ml 48152-3985
                                                                              (800) 624-1662

                                          ACCELERATED DEATH BENEFIT ENDORSEMENT
                                  {THIS ENDORSEMENT tS NOT A LONG ·TEAM CARE ENDORSEMENT)
               IMPORTANT NOTICE: BENEFITS PROVIDED UNDER YOUR CEAnFICATE .OF GROUP TERM UFE
               INSURANCE WILL BE REDUCED IF THE ACCELERATED DEATH BENEFIT IS PAID.

               THE ACCELERATED DEATH BENEFITS OFFERED UNDER THIS ENDORSEMENT MAY OR MAY NOT
                QUAUFV FOR FAVORABLE TAX TREATMENT UNDER THE INTERNAL REVENUE CODE OF 1986.
               WHETHER SUCH BENERTS QUALIFY DEPENDS ON SUCH FACTORS SUCH AS YOUR LIFE
               EXPECTANCY AT THE TIME BENEFITS AAE ACCELERATED. IF THE ACCELERATED DEATH BENEFIT
               QUALIFIES FOR FAVORABLE TAX TREATMENT, THE BENEFITS WILL BE EXCLUDED FROM YOUR
               INCOME AND NOT SUBJECT TO FEDERAL TAXATION. TAX LAWS RELATED TO ACCELERATED DEATH
               BENEFITS ARE COMPLEX. YOU ARE ADVISED TO CONSULT WITH A QUALIFIED TAX ADVISOR ABOUT
               CIRCUMSTANCES UNDER WHICH YOU COULD RECEIVE ACCEL!RATED DEATH BENEFITS
               EXCLUDABLE FROM INCOME UNDER FEDERAL LAW.

               RECEIPT OF ACCELEAATJON.OF-UFE-INSURANCE BENEFITS MAY AFFECT YOUR SPOUSE OR YOUR
               FAMILY'S ELIGIBILITY FOR PUBUC ASSISTANCE PROGRAMS SUCH AS MEDICAL ASSISTANCE
               (MEDICAID), AID TO fAMILIES WITH DEPENDENT CHILDREN (AFDC), SUPPLEMENTARY SOCIAL
               SECURITY INCOME (SSJ), AND DRUG ASSISTANCE PROGRAMS. YOU ARE ADVISED TO CONSULT
               WITH A QUAUFIED TAX ADVISOR AND WITH SOCIAL SERVICE AGENCIES CONCERNING HOW RECEIPT
               OF SUCH A PAYMENT WILL AFFECT YOU, YOUR SPOUSE AND YOUR FAMILY'S ELIGIBILITY FOR
               PUBLIC ASSISTANCE.
              This Endorsement Is attached to and become~ a part of Your Certificate. Wher~ver the term ''Schedule Page"
              appears In this Endors~ment, It shall have the same meaning as the term Data Page. This Endorsement will
              remain In effect only whlfe the Certificate remains In effect It Is governed by the tenns of the Group Polley and
              Certltrcate that are not In conflict with the provisions of this Endorsement.
              EFFECTIVE DATE
                   This Endorsement will not become effective unless the Certificate is In force.
                                                 The Effective Date of this Endorsement Is shown on the Schedule Page (page 3a. of Your Certificate.)
...... ~ ........................................lf-We. reJAState·coverage-unaef..lhls·-Endersemertt;-the·Effectlve·E>ate·of-the-refnstateclcoverage-wfftbe· ..............................................
                                                 shown In a new Schedure Page (page 3a of Your Certificate.)
              BENEFIT
                   This Endorsement allows You to request an Accelerated Death Benefit Amount subject to all the
                   provisions of the Group Polley and Your CertHicate.. Thfs Endorsement Is not Intended to provide
                   heafth, nursing home, or long-term cat8 Insurance.
             INSURED ("YOU., OR "YOUR")
                   If You are the Insured named on the Schedule Page, You are covered by this Endorsement.

             PHYSICIAN
                   A doctor of medicine (M.D.) or ~sreopathy (D.O.) legally authorized to practice medfclne or surgery,
                   wlthfn the scope of such authorization, by the state which he or she perfonns such function or actfon.
                   A Physician must not be the spouse, chJid, sibling, parent, grandparent, grandchild, or In-taw of the
                   rnsured.




            GT8108ENOCERTfX                                                      EXHIBIT A                                                                   NC000027
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                 ..
                            TERMINATION
                                  This Endorsement will terminate on the earflest of:
                                  1. the date when the Certificate this Endorsement Is attached to termfnatesi or
                                  2. when You request that we cancel It by notifying us In writing; or
                                  3. upon Your death.

                            Signed for AAA Life Insurance Company at Its Home Office In Livonia, Michigan


                                  J~N~!Pf~p                                                                                                                                                                     ch~of.~
                                                  Harold W. Huffstetrer, Jr., President                                                                                                                              Diane L Coudurfer, Secretary




•• ••   • •••••••••••• ••••••• .............................. - -............................................................................................................ u ..................................................................................... ., .....: ............... -   ................- ....... _.. ............................................. .




                     GT8108ENDCERITX                                                                                                               EXHIBIT A                                                                                                                                 NC000028
 •,
                  Case 4:17-cv-00180-O-BP Document 1-2 Filed 02/24/17                                                                            Page 33 of 34 PageID 44


           ..                                • IMPORTANT INFORMATION ASOUT COVERAGE UNDER THE
                                        TEXAS UFE AND HEALTH INSURANCE GUARANTY ASSOCIATION
                                     (For insurers dec/Bred Insolvent or Impaired on or after September 1, 2011)

        Texas law establishes a system, administered by the Texas Life, Accident, Health and Hospital Service Insurance Guaranty
        Association (the •Association•), to protect Texas policyholders If their life or health rnsurance company fans. Only the .
        policyholders of Insurance companies which are members of the Association are ellglbfe for this protection which Is subject to
        the terms, limitations, and condHlons of the Association law. {The law Is found In the Texas lnsursncs Code, Chapter 463.)

                  It Is possible that the Association may not cover your policy In full or In part due to statutory limitations.

                                                           Eligibility for Protection by the Association
       When a member Insurance company Is found to be Insolvent and placed under an order of liquidation by a court or
       designated as Impaired by the Texas Commissioner of Insurance, the Assoclatfon provides coverage to policyholders who
       a~:                                                                                                                                                                                        .
       •           Residents of Texas (regardless of where the policyholder lived when the policy was laaued)
       •           Residents of other states, ONlY If the following conditions are met:
                   1. The policyholder has a polfcy with a company domiciled In Texas;
                   2. The policyholder's state of resfdence has a similar guaranty association: and
                   3. The policyholder Is not sllglbls for coverage by the guaranty assoclaUon of the policyholder's state of residence.

                                                                  Limite of Protection by the Association

       Accident, Accident and Health, or Health Insurance:
       •        Fpr each Individual covered under one or more policies; up to a total of $500,000 for basic hospital, medlcal-surglcar,
               and major medical Insurance, $300,000 for disability or long tenn care Insurance, and $200,000 for other types of
               health Insurance.                       '
       Life Insurance:
       •       Net cash surrender value or net cash withdrawal value up to a total of $100,000 under one or more polfcfes on any
               one life; or
      •        Death benefits up to a total of $300,000 under one or more polfofes on any one fife; or
      •        Total benefits up to a total of $5,000,000 to any owner of multiple non-group life policies.
      Individual Annuities:
      •        Present value of benefits up to a total of $1 00,000 under one or more contracts on any one life.
      Group Annuities:
      •        Present value of allocated benef~s up to a total of $100,000 on any one life; or
      •        Present value of unallocated benefHs up to a total of $5,000,000 for one contract holder regardless of the number of
               contracts.
      Aggregate Limit:
      •        $300,000 on any one life wfth the exception of the $500,000 health Insurance limit, the $5,000,000 multiple owner life
...... . . . ~............insurance~iiiiiii:·-ancfffii$5.ooo~·ooo·unii'iocate'ifgni'iJp ail'nuliY-iimii:-·"'"'"""'""~"'""""""""'"""''"""' ...................-........-.- .........-....._ ----· ...... ..... .... .. -·
      Insurance companies and agents are prohibited by law from using the existence of the Association for the purposes
      of sales, solicitation, or Inducement to purchase any form of Insurance. When you are selecting an Insurance
      company, you ahould not rely on Aaaoclatlon coverage. For additional questions on Aeaoclatlon or protection or
      generallnformaUon about an Insurance company, please use the following contact lnformaUon.
             Texas Life and Health Insurance                                                                          Texas Department of Insurance
             Guaranty AssoclaUon                                                                                      P.O. Box 149104
             515 Congress Avenue, Suite 1875                                                                          Austin, Texas 78714·9104
             Austin, Texas 78701                                                                                      888·252·3439 or
             800·982-6362 or                                                                                          www.tdl.texas.gov
             txtllfega.org




      TX·GN14
                                                                                      EXHIBIT A                                                                        NC000029
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  ~~/
   .~Life ln&uran~e
             Company




                                                                                                              H23




    ®          Spouse Information (If applying)                                                          .          ·              ·                                                                        :
                                                                                                                          ...... sp'Ol.rse cowrauu Amount Desired:
                                                                                                                                 G2($200,000 D $100,000 D sso,ooo                               D   $2.6,000
                                                                                                                                Gender ca'btaJ.c _0 Female
                                                                                                                                Date of Birth                                     (Mtmt bo aga 18·G91o apply.)
                                                                                                                                Soclol Socqrity Number               ~<L£..l;=IU:l£------
                                                                                                                                Pioce af ':'"rl" _.._.....q.:::.~.:.:....==:....:.=::tO.>"---------.
                                                                                                                                Height ............., •. _.._, ..•




   1. In tho past 12 months f1ave you used nlcoUne In any fornt? .......................................................................................
   2. Are you currently connned 10 a hospltaJ or esslsted 1\v\ng tociii'Y, receiVIng homo health care, or had diagnostic lostlng
      pcrfonnod or rocommcnded In the last 12 months for an unldentllled condition? ....................................................... .                              0
   3. In tho pnst 5 years hnvo you oecn convlcteCI ot a rclony, rtrivlng unoor the lntluoncc, or reckless di1VIno. or treated for
      arcohol or substance abuse, or aavlsed to reduce consumption ot alcohol by a member of tho medical profosolon? ......
    In \ha pasl8 yean, hne you been ~\a9noaed or \rea\ed br a metnbM o1 \he med\tdl prvfe88tcm for:
                                                                                                                                                                           0
   4. Oomonllo, schizophrenia, attempted suicide or hava you been hospitalized or mlssod mare lhon 1 weok of wor1< as a
      rosuu ol anxiety, deprosslon, or bipolar dlsordor? ... .. .... ....... ...................... ................... ........................... ... ................   0      g/
   6. Acqulrod fmmune oeflcloncy Syndrome (AIDS), Human lmmunoooncrency Viruo (HIV) rnfocuon, Cirrhosis, HopoUtls c,
      strokG, bruin tumor, leukemia. or cancer? (Answer NO H you ONlY have basn\ or squamous cell cane or.) ..... ....... ..... .....                                      Cl     ~        ,
   6. COntral Nervous DJsordor, Amyofropttlc Lateral Sclerosis {AlS), lupus, chronic kldney disease, resplratOIY disorder,                                                                 1
      hcar1 or circulatory disorder? (Answer NO tr you ONLY ttavo osthmn or high bloOd pre.ssuro.) ........... .... ........... ..............                             Q      ~        j
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       "   ~.~~,b~~~~~r~:u~:: ~:~~~:~~B~th·d~b:;i~·,;;·~~O·ti~~~·1'5'y~~..~g~·~;·h;e·y~~·h~d·~;w·~~pjk;~ij~~~·;;l~\j~g·l~....                                              Q      ~        j
         dlabotos, such as ketoacidosis, neuropathy, or nephropathy in tho last 5 years? ......................................................                            ,..,   n.:.-    i
                                                                                                                                                                                                0
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                                                                                                                                                                                  U::f     :.   Q
   Of "YI:S," plea• so llst name ol company, and poJJc.y numbor of policy to be replaced.)                                                                                 Q

   Company/Policy# (MembeJ?·                                                                                 Company/Policy N        (Spouse):~·:;;;;~;=·=-=-=-==-~-==-==~-~~=~==~'
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            crccut   rAinfNumliDr:·ooo·o-oooo-oooo DODO                                                                         Explrauon oato;         oo ,DO
     • Pleaso pr1nt name as tt appears on checking account or creelll card;·--~------=:1--~-----------­
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           answers
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  bO lsauud, ond Ule appllcallon                part of ttm            of lnouronce
   (Cci1Jiicnte). • II t misstate any ot tho lnformaUon above,       Certificate may
   be voldablo from Inception by AAA Ufe Insurance Compnny (the CompanY).
   • Covorago will take ef1oct an lho Effective Data shown on iho Certificate:
  provided the first premium has boen paid and there has been no change In
  my hcallh slnoo tho dale of the applfcadon. If my hoa11h cflangos pr1or to
   tho Elfocllve Dote or tho Certific.o.to, I must promplly lnfonn lho Company Jn
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  clinic, pharmacy. pharmacy bono tit manaaer or ofher medleal~relutbd facility,
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  organlzntlon that hns any records or knowledge ot my modice.l or prescription
  111s10ry, driving record, or social securtty number, to give anv euch lnfonnallon
  ru lhe Company, Its relnsurer(s) or any enUty rstalnod by the COmpany to
  collect anrt transmit such lnfonnatlon. • I acknowledoe recolvlng the MIB
  "NOTIFICAnON" and aulhorlze Ula Company, or Its rslnsurer(s} to males a

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                                                                                    EXHIBIT A                                                                               NC000030
